             Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 1 of 12
 Skip to Main Content Logout My Account Search Menu Search Refine Search Back                                        Location : All Courts Images

                                                       REGISTER OF ACTIONS
                                                       CASE NO. D-101-CV-2017-02729

Mary Jo Silva v. Metropolitan Property and Casualty Insurance Company §                            Case Type: Tort Auto
                                                                      §                             Date Filed: 09/27/2017
                                                                      §                               Location:
                                                                      §                         Judicial Officer: Singleton, Sarah
                                                                      §
                                                                      §


                                                            RELATED CASE INFORMATION

Related Cases
 D-101-CV-2016-00820 (See For Background)


                                                                PARTY INFORMATION

                                                                                                                      Attorneys
Defendant     Metropolitan Property and Casualty
              Insurance Company
               P.O. Box 6040
               Scranton, PA 18505


Plaintiff     Silva, Mary Jo                                                                                          Linda G. Hemphill
               203 Alto Lane                                                                                           Retained
               Santa Fe, NM 87501                                                                                     505-986-8515(W)


                                                          EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
09/27/2017 Cause Of Actions     Tort: Personal Injury Auto (Count I. (Liability of USAA for Negligence/Negligence Per Se and Reckless Conduct)
           Action Type          Action
09/27/2017 Cause Of Actions     Bad Faith (Count II (Breach of Covenant of Good Faith an /fair Dealing and Statutory Violations))
           Action Type          Action
09/27/2017 OPN: COMPLAINT
             COMPLAINT TO RECOVER DAMAGES FOR PERSONAL INJURY AND BAD FAITH INSURANCE PRACTICES
09/27/2017 JURY DEMAND 6 PERSON
             Jury Demand
10/02/2017 SUMMONS ISSUED
             Summons Issued


                                                              FINANCIAL INFORMATION



            Plaintiff Silva, Mary Jo
            Total Financial Assessment                                                                                                       282.00
            Total Payments and Credits                                                                                                       282.00
            Balance Due as of 11/01/2017                                                                                                       0.00

09/27/2017 Transaction Assessment                                                                                                             282.00
09/27/2017 File & Serve Payment      Receipt # SFED-2017-11264                          Silva, Mary Jo                                      (282.00)




                                                             EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 2 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 3 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 4 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 5 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 6 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 7 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 8 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 9 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 10 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 11 of 12




                          EXHIBIT A
Case 1:17-cv-01085-MV-SCY Document 1-2 Filed 11/01/17 Page 12 of 12




                          EXHIBIT A
